                  Case 18-23004           Doc 8        Filed 10/01/18        Page 1 of 1

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION


                                                   )
In re                                              )     Chapter 13
                                                   )
NKIAMBI JEAN LEMA,                                 )     Case No. 18-23004
Debtor(s)                                          )
                                                   )     BANKRUPTCY JUDGE
                                                   )     MICHELLE M HARNER




                  REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
            FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

Bank (Lowes® ConsumerCreditCard [Last four digit of account:5807]), a creditor in the above-captioned

chapter 13 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

(the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

and all papers served or required to be served in this case be also given to and served, whether

electronically or otherwise, on:
            Synchrony Bank
            c/o PRA Receivables Management, LLC
            PO Box 41021
            Norfolk, VA 23541
            Telephone: (877) 829-8298
            Facsimile: (757) 351-3257
            E-mail: claims@recoverycorp.com


Dated: Norfolk, Virginia
October 1, 2018
                                                       By: /s/ Valerie Smith
                                                       Valerie Smith
                                                       c/o PRA Receivables Management, LLC
                                                       Senior Manager
                                                       PO Box 41021
                                                       Norfolk, VA 23541
                                                       (877) 829-8298

Assignee Creditor: Lowes® ConsumerCreditCard [Last four digit of account:5807]
